
Hawkins, J.,
delivered the opinion of the Court.
Phillips brought an action of trover against Barn-hill, before a Justice of the Peace for the County of Henderson, to recover the value of a horse, which, it is alleged, was the property of the plaintiff, and had been wrongfully converted by the defendant.
The Justice rendered a judgment in favor of the defendant; from which the plaintiff appealed to the Circuit Court, where a trial was had, -which resulted in a verdict and judgment in favor of the plaintiff, for $100.00, damages and costs.
The defendant moved for a new trial; which, being refused, he has appealed in error, to this Court.
It appears, from the brief bill of exceptions in this record, that Phillips, the owner of the horse in controversy, was a soldier in the Federal Army, during the late civil war, and at the same time, Barnhill was a soldier in the Confederate Army. The horse in controversy was the private property of Phillips, and had never been used in the military service. Under these circumstances, Barnhill took the horse out of the possession of Phillips, sold him, and applied the proceeds to his own use.
*3Under tbis state of facts, it is clear that the taking the horse by Barnhill was wrongful, and amounted to a conversion of the property, in consequence of which, Phillips is entitled to recover the damages which he has sustained.
But the bill of exceptions, which purports to set out all the evidence in the cause, is perfectly silent as to the value of the horse, or the damages sustained by Phillips, in consequence of the alleged conversion. There is no proof, whatever, in the record, to sustain the verdict of the jury as to the damages. We are, therefore, of opinion his Honor, the Circuit Judge, erred in overruling the motion for a new trial.
The judgment will be reversed, and the cause remanded.
